 AO 2458    (Rev. 09/08) Judgment m a Cr1mmaf"tase
            Attachment (Page I) - Statement of Reasons


 DEFENDANT:                  FELIX SATER
 CASE NUMBER:                98CR1101-0l(ILG)
 DISTRICT:                   EASTERN DISTRICT OF NEW YORK
                                                              STATEMENT OF REASONS
                                                                      (Not/or Public Disclosure)

       COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

       A    K       The court adopts the presentence investigation report without change.

       B □          The court adopts the presentence investigation report with the following changes.
                    (Check all that apply and specify court determination. findings, or comments, referencing paragraph numbers in the presentencc report, if applicable.)
                    (Use page 4 if nec~ssary.)

                    0    Chapter Two of the U.S.S.G. Manual determinations by court (including changes to base offense level, or
                         specific offense characteristics):




            2       D    Chapter Three of the U.S.S.G. Manual determinations by court (including changes to victim-related adjustments,
                         role in the offense, obstruction of justice, multiple counts, or acceptance of responsibility):



            3      D     Chapter Four of the t:.S.S.G. Manual determinations by court (including changes to criminal history category or
                         scores, career offender, or criminal livelihood determinations):



           4       D    Additional Comments or l<indings (including comments or factual findings concerning certain information in the
                        prcsentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
                        or programming decisions):

       C   0       The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II     COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)
       A X         No count of conviction carries a mandatory minimum sentence.

       B 0         Mandatory minimum sentence imposed.

      C    □       One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
                   sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum
                   does not apply based on

                   D    findings of fact in this case

                   D    substantial assistance (l 8 U.S.C.   ~ 3553(e))
                   D    the statutory safety valve (18 U.S.C. § 3553(1))



Ill   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):
      Total Offense Level:                        III
      Criminal History Category:                  37
      Imprisonment Range:        262      to        327           months
      Supervised Release Range:         2           to            3      years
      Fine Range: $ ~0,000           to $ 80 ··-" MILLION
                                                      ..... ___ _


      D Fine waived or below the guideline range because of inability to pay.

/\0 2458   (Rev, 09/08) Judgment in a Criminal Case
AO 245B      (Rev. 09/08) Judgment in a Criminal Case
             Attachment (Page 2) - Statement of Reasons


DEFENDANT:                     FELIX SATER
CASE NUMBER:                   98CR1101-0l(ILG)
DISTRICT:                      EASTERN DISTRICT OF NEW YORK
                                                            STATEMENT OF REASONS
                                                                   (Not/or Public Disclosure)

IV    ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)

      A 0             The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart.

      B      □        The sentence Is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                      (Use page 4 ifnecessary.)


      C      )(       The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                      (Also complete Section V.)

      D )(            The court imposed a sentence outside the advisory sentencing guideline system, (Also complete Section VI.)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (If applicable.)

      A      The sentence imposed departs (Check only one.):
             )( below the advisory guideline range
             D above the advisory guideline range

      B      Departure based on (Check all that apply.):
                           Plea Agreement (Check all that apply and check reason(s) below.):
                           D 5K 1.1 plea agreement based on the defendant's substantial assistance
                           D 5K3. I plea agreement based on Early Disposition or "Fast-track" Program
                           □    binding plea agreement for departure accepted by the court
                           □    plea agreement for departure, which the court finds to be reasonable
                           □    plea agreement that states that the government will not oppose a defense departure motion.

             2             Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                           )(   5K 1.1 government motion based on the defendant's substantial assistance
                           O 5K3. I government motion based on Early Disposition or "Fast-track" program
                           □   government motion for departure
                           )(  defense motion for departure to which the government did not object
                           D defense motion for departure to which the government objected
             3             Other
                           0 Other than a plea agreement or motion by the parties for departure(Check reason(s) below.):
      C          Reason(s) for Departure (Check all that apply other than 5KJ. 1 or 5K3.l.)
                                                                       Death                                           5K2.II Lesser Harm
□    4Al.3        Criminal History Inadequacy
                                                            □   5K2.I
                                                                                                                 □
                                                                                                                       5K2.12 Coercion and Duress
D    SHI.I        Age
                                                            □   5K2.2  Physical Injury
                                                                                                                 □     5K2.13 Diminished Capacity
□
     SHl.2        Education and Vocational Skills
                                                            □   SK2.3 Extreme Psychological Injury
                                                                                                                 □
                                                                                                                       5K2.14 Public Welfare
□    51-11.3      Mental and Emotional Condition
                                                            □
                                                                5K2.4 Abduction or Unlawful Restraint
                                                                                                                 □
                                                                                                                       51<2.16 Voluntary Disclosure of Offense
D    5Hl.4        Physical Condition
                                                            □   SK2.5 Property Damage or Loss
                                                                                                                 □     5K2.17 High-Capacity, Semiautomatic Weapon
□    SHl.5        Employment Record
                                                            □   SK2.6 Weapon or Dangerous Weapon
                                                                                                                 □     SK2.18 Violent Street Gang
□    SHl.6        Family Ties and Responsibilities
                                                            □   5K2.7 Disruption of Government Function
                                                                                                                 □
                                                                                                                       SK2.20 Aberrant Behavior
□    SHI.I I      Military Record, Charitable Service,
                                                            □   5K2.8 Extreme Conduct
                                                                                                                 □
                                                                                                                       5K2.21 Dismissed and Uncharged Conduct
                  Good Works
                                                            □   SK2.9 Criminal Purpose
                                                                                                                 □
                                                                                                                       5K2.22 Age or Health of Sex Offenders
□    SK2.0        Aggravating or Mitigating Circumstances
                                                            □   5K2.l0 Victim's Conduct
                                                                                                                 □
                                                                                                                       5K2.23 Discharged Terms of Imprisonment
                                                                                                                 □     Other guideline basis (e.g., 2B1.1 commentary)
                                                                                                                 □
      D          Explain the facts justifying the departure. (Use page 4 if necessmy.)
AO 2458    (Rev. 09/08) Judgment in a Criminal Case
           Attachment (Page 3) - Statement of Reasons


DEFENDANT:                  FELIX SATER
CASE NUMBER:                98CR1101-0l(ILG)
DISTRICT:                   EASTERN DISTRICT OF NEW YORK
                                                         STATEMENT OF REASONS
                                                                  (Not/or Public Disclosure)

VI   COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
     (Check all that apply.)

     A     The sentence imposed is (Check only one.):
           )( below the advisory guideline range
           0 above the advisory guideline range
     B     Sentence imposed pursuant to (Check all that apply.):
                       Plea Agreement (Check all that apply and check reason(s) below.):
                       D       binding plea agreement for a sentence outside the advisory guideline system accepted by the coun
                       D       plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                               plea agreement that states that the government will not oppose a defense motion to the coun to sentence outside the advisory guideline
                       □
                               system

           2           Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                       )(      government motion for a sentence outside of the advisory guideline system
                       )(      defense motion for a sentence outside of the advisory guideline system to which the government did not object
                       D       defense motion for a sentence outside of the advisory guideline system to which the government objected

           3           Other
                       )(      Other than a pica agreement or motion by the panics for a sentence outside of the advisory guideline systen(Check reason(s) below.):

     C     Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply)

           )( the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(I)
           )( to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense (18 U.S.C. § 3553(a)(2)(A))
           0    to afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(a)(2)(8))
           D    to protect the public from further crimes of the defendant ( 18 U.S.C. § 3553(a)(2)(C))
           0    to provide the defendant with needed educational or vocational training, medi~al care, or other correctional treatment in the most effective manner
                ( 18 U.S.C. § 3553(a)(2)(D))
           D   to avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6))

           0   to provide restitution to any victims of the offense ( 18 U.S.C. § 3553(a)(7))


     D     Explain the facts justifying a sentence outside the advisory guideline system. (Use page 4 if necessary.)
AO 245B          (Rev. 09/08) Judgment in a Criminal Case
                 Attachment (Page 4) - Statement of Reasons


DEFENDANT:                             FELIX SATER
CASE NUMBER:                           98CR1101-0l(ILG)
DISTRICT:                              EASTERN DISTRICT OF NEW YORK
                                                                      STATEMENT OF REASONS
                                                                               (Not for Public Disclosure)

VII COURT DETERMINATIONS OF RESTITUTION

       A         O     Restitution Not Applicable.

       B         Total Amount of Restitution:

       C         Restitution not ordered (Check only one.):

                       0            For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitlllion is not ordered because the number of
                                    identifiable victims is so large as to make restitution impracticable under IS U.S.C. § 3663A(c)(3)(A).

                 2     0            For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because detennining complex
                                    issues of fact and relating them to the cause or amount of the victims' losses would complicate or prolong the sentencing process to a degree
                                    that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).

                 3     0            !'or other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing guidelines, restitution is not
                                    ordered because the complication and prolongation of the sentencing process resulting from the fashioning ofa restitution order outweigh
                                    the need to provide restitution to any victims under 18 U.S.C. § 3663(a)(l)(B)(ii).

                 4     0            Restitution is not ordered for other reasons. (Explain.)




       D         O     Partial restitution is ordered for these reasons (18 U.S.C. § 3553(cJ):




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)




                           Sections I, II, III, JV, and VII of the Statement of Reasons form must be completed in all felony cases.



                                                                                                                                                   /

Defendant's Soc. Sec. No.: - ·                                                                                    D.ate of. Imposition o f
                                                                                                                                         ... · ,ent

Defendant's Date ofBirth:                      MARC~ 2, 12_66
                                                                                                                  o~r~1B~R;,_~;-~009 _~-- -·· . . ..
                                                                                                                  ---- ,__ /+. v--,· _ { ~
                                                                                                                  Signature of Judge . ·
Defendant's Residence Address:
                                                                                                                  I. LEO GLASSER, SENIOR DISTRICT JUDGE
   .       ·-·             ·-   -
Defendant's Mailing Address:                         ~.AME AS ~.BQY~                                              Name and Title of Judge
                                                                                                                  Date Signed OCTOBER 23, 2009 --···
